                  IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,                  Case No. 3:25-cr-00025-SLG-MMS
                    Plaintiff,
                                            ORDER GRANTING UNOPPOSED
       vs.                                  MOTION TO CONTINUE
                                            ARRAIGNMENT ON
 FRANCISCO RODRIGUEZ-RINCON,                INDICTMENT / DETENTION
                    Defendant.              HEARING


      After due consideration of Defendant’s Unopposed Motion to Continue

Arraignment on Indictment / Detention Hearing filed at Docket 6, and good cause

appearing, the Motion is GRANTED.

      IT IS HEREBY ORDERED that the Arraignment on Indictment / Detention Hearing

scheduled for April 21, 2025, is VACATED and RESET for April ___, 2025, at _____

am/pm in Anchorage Courtroom 3 before Chief Magistrate Judge Matthew M. Scoble.

      DATED this _____ day of April, 2025, in Anchorage, Alaska.



                                          ___________________________________
                                          Matthew M. Scoble, Chief Magistrate Judge
                                          UNITED STATES DISTRICT COURT
